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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                 )
 UNITED STATES OF AMERICA,                       )
                                                 )        Criminal No. 1:21-cr-00537-JMC
                       v.                        )
                                                 )
 RYAN SAMSEL,                                    )
                                                 )
                  Defendant.                     )
                                                 )

DEFENDANT RYAN SAMSEL’S RESPONSE TO THE GOVERNMENT’S MOTION TO
                    DISCLOSE 6(e) MATERIAL

       Defendant Ryan Samsel, by and through undersigned counsel, respectfully submits this

response to the government’s motion for an order permitting the disclosure of materials protected

by Federal Rule of Criminal Procedure 6(e).

       Rule 6 of the Federal Rules of Criminal Procedure governs grand jury proceedings. Rule

6(e) implements the “long-established policy that maintains the secrecy of the grand-jury

proceedings in the federal courts.” United States v. Procter & Gamble Co., 356 U.S. 677, 681

(1958). “Grand jury investigations are conducted in strict secrecy to encourage witnesses to

testify fully and frankly, to prevent those about to be indicted from fleeing, and to ensure that

persons who are accused but exonerated by the grand jury will not be held up to public ridicule.”

In re Grand Jury Subpoena, Judith Miller, 493 F.3d 152, 154 (D.C. Cir. 2007) (per curiam)

(internal quotation marks and citations omitted). Pursuant to Rule 6(e), the disclosure of grand

jury materials is generally prohibited, limited to certain exceptions. These exceptions include:

(i) disclosure to an attorney for the government in the performance of that attorney's duty; (ii)

disclosure to such government personnel as an attorney for the government deems necessary to

assist an attorney in enforcing federal criminal law; or (iii) to another federal grand jury. Rule




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6(e)(3)(A) and (3)(C)(iii). The Rule further allows, when directed by the court: (i) disclosure

preliminary to or in connection with a judicial proceeding; (ii) disclosure at the request of a

criminal defendant if the defendant shows cause; or (iii) disclosure to an appropriate state or

local official for the purpose of enforcing state criminal law. Rule 6(e)(3)(C).

       The government does not claim to request the disclosure of these materials under any

delineated exception, but rather requests disclosure for purposes of discovery. See Gov’t Mot.

(Apr. 11, 2022) (ECF No. 146). To that end, “[a] prosecutor’s obligation under Brady v.

Maryland to disclose favorable, material evidence to the defense remains in place even if that

information was presented to the grand jury.” 1 Wright & Miller, Federal Practice and

Procedure § 108 (April 2022 Update). Although Rule 6 does not itself give a defendant any

basis to object to the Court’s ordering grand jury materials disclosed, the government here seeks

an order requiring any disclosure to be subject to the Court’s previously-entered protective order

in this action, which would not otherwise be required by Rule 6(e). Irrespective of whether the

Court so ordered that any grand jury materials automatically be subject to the protective order,

the government could nevertheless, however, independently designate those materials as

sensitive or highly sensitive pursuant to the protective order. Regardless, Mr. Samsel does not

object to the Court ordering that any grand jury materials disclosed to defense counsel be subject

to the Court’s previously-entered protective order, which itself provides a mechanism for Mr.

Samsel to challenge a designation of sensitive or highly sensitive.

                                                ***

       The government’s motion raises an additional issue for potential consideration by the

Court. As the Court is aware, on January 27, 2022, the Court ordered the government to

complete discovery by February 24, 2022. Accordingly, that day the government produced




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grand jury transcripts and exhibits to defense counsel as part of its final production. See Notice

Ex. 1 at 33 (Feb. 24, 2022). It was only after this disclosure that the government sought this

Court’s permission to produce these materials pursuant to the instant motion.

       This circuitous approach exemplifies a recurring and curious pattern throughout the

government’s investigation (and prosecution) of this case. Examples include the disclosure of

sensitive information to The New York Times, which resulted in the government’s request that

Mr. Samsel be placed in protective custody (solitary confinement). See Third Medical Status

Report at 1 (Oct. 14, 2021) (ECF No. 55). Of course the Court is also aware that it is beyond

dispute that Mr. Samsel has been involved in three altercations with correctional officers that

resulted in his receiving treatment at third-party emergency medical facilities, while

simultaneously being denied access to the incident reports and/or video recordings of the

incidents that would elucidate the purported causes of the same. See Joint Status Report (Nov. 8,

2021) (ECF No. 60). Also curious are the numerous and superfluous superseding indictments

that have interfered with Mr. Samsel’s desire for a speedy trial in his case.

       First, on November 17, 2021, despite the passage of nearly eleven (11) months and

having only recently indicted Mr. Samsel to begin with, the government suddenly superseded

Mr. Samsel’s indictment. First Superseding Indictment (Nov. 17, 2021) (ECF No. 61). On

November 23, 2021, the Court arraigned Mr. Samsel on this indictment and considered Mr.

Samsel’s vigorous opposition to any further tolling of the Speedy Trial Act, prompting the Court

to set a pretrial motions briefing schedule allowing for the time to be tolled under the Speedy

Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A).

       Just a few weeks after the November 23, 2021, status hearing, the government again

superseded Mr. Samsel’s indictment to include a co-defendant. Second Superseding Indictment




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(Dec. 15, 2021) (ECF No. 69). Of note, that defendant had been arrested on October 14, 2021,

nearly nine (9) months after Mr. Samsel, and since that time had agreed to delay his right to a

preliminary hearing and/or to waive time under the Speedy Trial Act – something the

government knew when it chose to join that defendant with Mr. Samsel. Thus, in its motion filed

less than a week later, the government requested further tolling under the Speedy Trial Act

because “of the addition of a codefendant to the indictment in this case on December 15, 2021,

who has stated that he needs more time, and who has agreed to exclude time through February

22, 2022.” Mot. for Speedy Trial Exclusion of Time (Dec. 21, 2021) (ECF No. 76) (quoting

authority). Third, on January 13, 2022, the government again superseded Mr. Samsel’s

indictment, adding three additional codefendants to his case nearly a full year after Mr. Samsel’s

arrest. Third Superseding Indictment (Jan. 13, 2022) (ECF No. 80). That same day, again on

January 13, 2022, the Court held a status conference at which Mr. Samsel again objected to the

continued tolling of the Speedy Trial Act, which the Court agreed to do only for the brief time

necessary to resolve which judge would be assigned to the case.

        The government claimed that superseding its indictment of Mr. Samsel was necessary

because “[a]ll of the charges against them relate to the incident at Peace Circle and surrounding

circumstances.” Notice (Jan. 12, 2022) (ECF No. 79). The government nowhere alleges, and has no

basis to allege, that any of these defendants knew each other, planned any of their alleged actions

with each other, had any relationship or history of contact – their only commonality is that they are

each alleged to have been present at a protest at the Capitol on January 6th near the location of the

Peace Circle.

        “[T]he proper functioning of our grand jury system depends upon the secrecy of grand

jury proceedings." Douglas Oil Co. v. Petrol Stops Northwest, 441 U.S. 211, 218 (1979). The

secrecy of grand jury proceedings protects several interests, including “the protection of the


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innocent accused from disclosure of the accusations made against him before the grand jury.”

Id. at 218 n.8. Even when a grand jury proceeding results in an indictment, the accused

nonetheless is “legally entitled to protection, as there may have been accusations made for which

no indictment was returned.” Id. It is for these reasons that “both Congress and the Court have

consistently stood ready to defend [grand jury secrecy] against unwarranted intrusion. In the

absence of a clear indication in a statute or Rule, we must always be reluctant to conclude that a

breach of this secrecy has been authorized." In Re Sealed Case, 250 F.3d 764, 768 (D.C. Cir.

2001) (quoting United States v. Sells Engineering, Inc., 463 U.S. 418, 425 (1983) (internal

quotes omitted).

       When the secrecy of a grand jury proceeding has been violated by unauthorized

disclosure, Rule 6(e)(7) provides that the punishment for the disclosure when done knowingly

may be contempt of court. Furthermore, once a potential violation has occurred and “a prima

facie case is shown, the district court must conduct a ‘show cause’ hearing.” In Re Sealed Case,

250 F.3d at 770 (quoting Barry v. United States, 865 F.2d 1317, 1321 (D.C. Cir. 1989)). Any

remedy for a violation of Rule 6(e) is trusted to the supervisory authority of the District Court,

but may include dismissal of an indictment where the violation was prejudicial to the defendant.

See United States v. Walters, 910 F.3d 11, 22-23 (2d Cir. 2018). A hearing in this case might

help shed light on the curious posture with which the Court, and especially Mr. Samsel, find this

case and explain why Mr. Samsel must wait for a trial while the government continues to indict

individuals it does not allege know Mr. Samsel or otherwise conspired to act with him; explain

why the government so vociferously opposes Mr. Samsel’s pretrial release despite his prolonged

detention; explain why the government and/or the U.S. Marshals Service refuse to provide

information that would corroborate their claim that no wrong-doing occurred in the altercations




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involving Mr. Samsel; and explain whether the government has satisfied its discovery

obligations to Mr. Samsel and his codefendants despite the Court’s requiring the completion of

discovery no later than February 24, 2022.

                               [SIGNATURE ON NEXT PAGE]




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Dated: April 22, 2022               Respectfully submitted,


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                        v.                         )
                                                   )
 RYAN SAMSEL,                                      )
                                                   )
                  Defendant.                       )
                                                   )

                                  CERTIFICATE OF SERVICE

        On April 22, 2022, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically

send electronic notification of such filing to all registered parties.

                                                       /s/ Stanley E. Woodward, Jr.
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